Case 1:20-cv-01469-DLF Document 13 Filed 06/17/20 Page 1 of 2
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

Black Lives Matter D.C., et al.

 

Plaintiff(s)
Case No.: 1:20-cv-01469-DLF
vs.
Donald J. Trump, et al.
Defendant(s)
AFFIDAVIT OF SERVICE

 

I, Ambiko Wallace, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons in a Civil Action, Civil Cover Sheet, Complaint, and First
Amended Class Action Complaint in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 06/11/2020 at 12:51 PM, I served U.S. Attorney for the District of Columbia c/o Civil Process Clerk at 501 3rd Street,
NW, Washington, DC 20001 with the Summons in a Civil Action, Civil Cover Sheet, Complaint, and First Amended Class Action
Complaint by serving Reginald Rowan, Agent, authorized to accept service on behalf of the United States Attorney for the District
of Columbia.

Reginald Rowan is described herein as:

Gender: Male Race/Skin: Black Age: 50 Weight: 240 Height: 6'4" Hair: Black Glasses: Yes

I declare under penalty of perjury that this information is true and correct.

| (9 [2-020

Executed On

 

 

Ambikd Wallace

Client Ref Number:0091224.00016
Job #: 1578532

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
Case 1:20-cv-01469-DLF Document 13 _Filed 06/ {i20 Pa C2 of 2
Case 1:20-cv-01469-DLF Document 4 Filed 06/04/20 Page

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

 

 

for the
District of Columbia
Black Lives Matter D.C. et al., )
)
)
)
Plaintiff(s) )
v. Civil Action No. 1:20-cv-1469
Donald J. Trump et al., )
)
)
—
Defendant(s) )

SUMMONS IN A CIVIL ACTION

U.S. Attorney for the District of Columbia
To: (Defendant’s name and address) Attn: Civil Process Clerk

555 4th Street, NW

Washington, D.C. 20001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: aitlin Banner

Weerraten Lawyers’ cen ee for Civil Rights and Urban Affairs
700 14th Street, NW, Suite 400
Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D, CAESAR, CLERK OF COURT

/s/ Simone Bledsoe
Signature of Clerk or Deputy Clerk

Date: _ 06/04/2020,

 

 
